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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                         )
LILIAN PAHOLA CALDERON JIMENEZ )
and LUIS GORDILLO, et al.,               )
                                         )
Individually and on behalf of all others )
                                                   No. 1:18-cv-10225-MLW
similarly situated,                      )
                                         )
                Plaintiffs-Petitioners,  )
                                         )
        v.                               )
                                         )
KIRSTJEN M. NIELSEN, et al.,             )
                                         )
                Defendants-Respondents.  )
                                         )

                              JOINT MOTION TO CONTINUE

       On April 17, 2019, this Court scheduled a hearing for May 2, 2019, to May 3, 2019, if

necessary. ECF No. 227. Due to previously scheduled professional obligations for Petitioners’

counsel, the parties respectfully ask the Court to continue the hearing. The parties have

conferred and propose May 22-24 for a hearing, or another date at the Court’s convenience.

       If the hearing date is continued, Respondents request an extension of time to respond to

Petitioners’ Motion to Open Discovery until May 2, 2019, which is consistent with L.R.

7.1(b)(2). See ECF No. 232.

Respectfully submitted this 25th day of April, 2019.

    Counsel for the Respondents                   Counsel for the Petitioners

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                                                  WILMER CUTLER PICKERING
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           CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

       I, Shirley X. Li Cantin, hereby certify that in accordance with Local Rule 7.1(a)(2),

counsel for Petitioners and counsel for Respondents conferred in good faith to resolve the issues

presented by this motion on April 25, 2019, and counsel for Respondents assented to this motion.

                                                    /s/ Shirley X. Li Cantin
                                                    Shirley X. Li Cantin




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